                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., et. al.,

                          Plaintiffs,            Case No. 3:23-cv-00606

           v.                                    Hon. Aleta A. Trauger

X CORP., D/B/A TWITTER,

                          Defendant.




                DEFENDANT X CORP.’S MEMORANDUM OF LAW
                   IN SUPPORT OF ITS MOTION TO DISMISS




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                                 PRELIMINARY STATEMENT

       Plaintiffs are major music publishers who allege that certain of Defendant X Corp.’s (“X”)

users have posted infringing content to its online platform. Notwithstanding that X’s Terms of

Service expressly forbid use of the platform to infringe copyrights, Plaintiffs seek to hold X liable

for the acts of these users. The Complaint alleges that X is directly, contributorily, and vicariously

liable for alleged copyright infringement arising from user posts. All three counts should be

dismissed for failure to state a claim.

        Plaintiffs fail to adequately allege direct infringement because the Complaint does not

contend that X acted with the requisite “volitional” conduct. The law requires that direct

infringement arise from active, knowing, non-automated conduct by a defendant—not from the

passive, automated operations of a website. The Complaint contains no allegations of active,

intentional conduct by X, or any X employee, related to the allegedly infringing user posts—an

omission that is fatal to the claim.

       The contributory infringement claim is similarly defective. The United States Supreme

Court has held that where a company offers a product or service that has substantial non-infringing

uses—as X’s service indisputably does—the copyright plaintiff must allege that the defendant took

active steps with the intent of encouraging infringement. See Metro-Goldwyn-Mayer Studios Inc.

v. Grokster, Ltd., 545 U.S. 913, 937 (2005) (“Grokster”). In this case, Plaintiffs do not allege that

X encouraged, induced, or took affirmative steps with the intent to foster the infringement of

Plaintiffs’ works. To the contrary, X’s anti-infringement policies and practices, including its

DMCA policy, belie any reasonable assumption that X has induced its users to infringe any

copyrights. Even reading the Complaint in the light most favorable to Plaintiffs, no liability can

be established on the facts as pleaded. As this Court appropriately recognized in a case with similar




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facts, this pleading defect requires dismissal of the contributory liability claim. See Eight Mile

Style, LLC v. Spotify USA Inc., 535 F. Supp. 3d 738, 746 (M.D. Tenn. 2021).

        Finally, Plaintiffs’ claim for vicarious liability fails as a matter of law because Plaintiffs do

not allege that the ability to post infringing content to the X platform (in violation of the Terms of

Service) is a draw to users sufficient to confer an “obvious and direct” financial benefit to X, or

that X had the practical ability to supervise the alleged infringement. As such, the vicarious

liability claim is also insufficiently pleaded and should be dismissed.

                           RELEVANT FACTUAL BACKGROUND

        X owns and operates an online social media platform that enables users to “post various

forms of content … in the form of short public entries known as ‘[posts].’” Compl. ¶¶ 3, 103. X

users have the ability to include “video (including audio) in a [post]” and to view “a video attached

to a [post].” Id. ¶¶ 103, 106. To post content to the platform, users must agree to X’s Terms of

Service (“TOS”), which expressly prohibit use of the service for unlawful purposes, including for

copyright infringement.1 See Rose Decl. Ex. A at 3 (“You represent and warrant that you have, or

have obtained, all rights, licenses, consents, permissions, power and/or authority necessary to grant

the rights granted herein for any Content that you submit, post or display on or through the

Services. You agree that such Content will not contain material subject to copyright or other

proprietary rights, unless you have necessary permission or are otherwise legally entitled to post

the material and to grant us the license described above.”). X also employs an anti-infringement



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   A copy of relevant portions of X’s TOS, which can be found online at https://X.com/en/tos and
which Plaintiffs reference in their Complaint (see Compl. ¶¶ 123, 148, 171), is attached to the
Declaration of Jessica Rose (“Rose Decl.”) as Exhibit A. See Karri v. BMW (US) Holding Corp.,
2023 WL 3131990, at *4 (M.D. Tenn. Apr. 27, 2023) (“It is … well established that the court can
treat documents that are integral to a plaintiff’s claims and mentioned in the underlying complaint
as having been incorporated into the complaint by reference.”) (Trauger, J.) (quotations omitted);
Blanch v. Trans Union, LLC, 333 F. Supp. 3d 789, 791–92 (M.D. Tenn. 2018) (similar).


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program by which it educates users about copyright infringement and restricts users who are

accused repeatedly of copyright infringement from accessing the platform. Id. at 2-4.

       Plaintiffs are 17 “major and independent music publishing companies.” Id. ¶¶ 2, 18.

According to Plaintiffs, the National Music Publishers Association (“NMPA”) began sending

“formal infringement notices to [X] on a weekly basis” in December 2021 on behalf of Plaintiffs.

Id. ¶ 140. Plaintiffs contend that those notices identified “over 300,000 infringing [post]s” by

users on the platform. Id. Although Plaintiffs criticize X’s anti-infringement program, the

Complaint implicitly acknowledges that X has removed hundreds of thousands of the accused

posts. Id. ¶¶ 149, 152.

                                      LEGAL STANDARD

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

“complaint’s allegations … ‘must be enough to raise a right to relief above the speculative level.’”

Harris v. Nationwide Mut. Fire Ins. Co., 367 F. Supp. 3d 768, 772 (M.D. Tenn. 2019) (Trauger,

J.) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “A pleading that offers ‘labels

and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 555, 557). “Nor does

a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

Although the Court must view the allegations in the light most favorable to Plaintiffs, the Court

“need not accept as true legal conclusions or unwarranted factual inferences, and conclusory

allegations or legal conclusions masquerading as factual allegations will not suffice.” Gehrisch v.

Chubb Grp. of Ins. Companies, 645 F. App’x 488, 490 (6th Cir. 2016) (quotations omitted).




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                                          ARGUMENT

       The Complaint alleges that X is liable for (1) direct infringement (Count I); (2) contributory

infringement (Count II) and (3) vicarious liability (Count III). For the reasons set forth below, all

Counts should be dismissed for failure to state a claim.

I.     THE COMPLAINT                 DOES       NOT        PLAUSIBLY        ALLEGE        DIRECT
       INFRINGEMENT

       To adequately plead a claim for direct copyright infringement, a plaintiff must allege that

“(1) it owns or is the exclusive licensee of a valid copyright and (2) the alleged infringer violated

at least one exclusive copyright right under 17 U.S.C. § 106.” Average Joe’s Ent. Grp., LLC v.

SoundCloud, LTD., 2018 WL 6582829, at *2 (M.D. Tenn. Oct. 17, 2018). Critically, to satisfy the

second prong of this test, a plaintiff must allege that the infringement resulted from an intentional

and knowing act by the defendant. Id. (“Consistent with the national trend, the Sixth Circuit has

recognized that direct infringement occurs where a defendant intentionally and knowingly copies

a copyrighted work.”). This “volitional conduct” requirement is an essential element of direct

infringement. See Kremer v. Reddit, Inc., 2022 WL 3702092, at *6–7 (M.D. Tenn. Aug. 26, 2022),

report and recommendation adopted, 2022 WL 4241273 (M.D. Tenn. Sept. 14, 2022) (collecting

cases); see also Hunley v. Instagram, LLC, 2023 WL 4554649, at *11 (9th Cir. July 17, 2023)

(“every circuit to address this issue has adopted some version of … the volitional-conduct

requirement”) (quotations omitted).      Indeed, the “volitional conduct element … is a basic

requirement of causation: ‘As its name suggests, direct liability must be premised on conduct that

can reasonably be described as the direct cause of the infringement.’” Average Joe’s, 2018 WL

6582829, at *2 (quoting Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 666 (9th Cir. 2017)).

       The volitional conduct “prerequisite takes on greater importance in cases involving

automated systems.” VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 731 (9th Cir. 2019); see also



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Am. Broad. Companies, Inc. v. Aereo, Inc., 573 U.S. 431, 454 (2014) (Scalia, J., dissenting) (“The

volitional-conduct requirement … comes right to the fore when a direct-infringement claim is

lodged against a defendant who does nothing more than operate an automated, user-controlled

system.”). In Zillow, the Ninth Circuit explained that a website’s “automatic” functionalities,

“such as automatic copying, storage, and transmission of copyrighted materials,” do not give rise

to direct infringement liability because they are not volitional. Zillow Grp., 918 F.3d at 732

(quotations omitted). In other words, “passive participation in the alleged infringement of

reproduction and adaptation rights … is not sufficient to cross the volitional-conduct line.” Id. at

738.

        To sufficiently allege volitional conduct, “there must be actual infringing conduct with a

nexus sufficiently close and causal to the illegal copying that one could conclude that the machine

owner himself trespassed on the exclusive domain of the copyright owner.” Canada Hockey,

L.L.C. v. Texas A&M Univ. Athletic Dep’t, 2022 WL 445172, at *10 (5th Cir. Feb. 14, 2022)

(quotations and brackets omitted); CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d 544, 550 (4th Cir.

2004) (same); see also Zillow Grp., 918 F.3d at 732 (“direct copyright liability for website owners

arises when they are actively involved in the infringement”) (emphasis in original). Importantly,

a plaintiff fails to state a claim for direct infringement if it does not assert that “the distribution of

the copyrighted material did not happen automatically” or that the defendant “exercised control,

selected any material for upload, download, transmission, or storage; or instigated any copying,

storage, or distribution.” Long v. Dorset, 854 F. App’x 861, 863-64 (9th Cir. 2021) (quotations

and brackets omitted) (affirming dismissal of direct copyright infringement where there was no

allegation of volitional conduct); Stross v. Twitter, Inc., 2022 WL 1843142 (C.D. Cal. Feb. 28,

2022) (dismissing direct infringement claim for failure to allege that X’s conduct was not




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automatic). “Most of the time that issue will come down to who selects the copyrighted content:

the defendant or its customers.” Aereo, Inc., 573 U.S. at 454-55 (Scalia, J., dissenting). There is

“a long line of copyright cases against internet service providers, in which courts have routinely

held that passively hosting infringing works on a server or cache does not rise to the level of

volitional conduct required for direct copyright infringement liability.” Tom Hussey Photography,

LLC v. BDG Media, Inc., 2020 WL 7481770, at *2 n.1 (D. Del. Dec. 18, 2020) (dismissing direct

copyright infringement claim where defendant’s “only alleged volitional act was acquiring a

website that hosted allegedly infringing copies of Plaintiff's work”) (collecting cases).

       Here, Plaintiffs fail to allege that X directly infringed the asserted copyrights through

active, intentional, non-automatic conduct directed at the allegedly infringing posts. Instead, the

relevant allegations in the Complaint implicate automated conduct by X’s computer code directed

at the general operation of the website. For example, the allegation that X “advances its business

model by selecting and promoting [posts] that include video, including those containing recordings

embodying Publishers’ songs” describes passive conduct resulting from the website’s algorithms.

See Compl. ¶ 116. Similar allegations also fail to describe actionable, volitional conduct by X but

rather are the function of the algorithmic mechanics of the website. See, e.g. Compl. ¶ 108 (X

“provides a user with [posts] that [X] selects from the user from various sources”); id. ¶ 111 (X

“uses its understanding of the content of [posts] to recommend [posts] to users of its platform”).

Absent express allegations that these mechanisms are actively and knowingly employed and

directed by human beings, there can be no liability for direct infringement.

       Similarly, allegations concerning the copying of content on X’s servers do not satisfy the

volitional conduct requirement. For example, the allegations that (1) “[w]hen a user uploads a

video file containing music, the file and an initial copy is created on a server [X] owns or controls”




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and (2) X “then copies that initial copy into additional formats and to additional [X] servers in

various locations, as well as streams the uploaded video to users” (Compl. ¶ 135) describe passive,

storage-related activity not connected to the specific allegedly infringing content. See, e.g., Parker

v. Paypal, Inc., 2017 WL 3508759, at *4 (E.D. Pa. Aug. 16, 2017) (dismissing claims against

Amazon for copyright infringement because Amazon’s “storage of electronic materials on their

servers, like Google, Inc.’s caching of websites ... , is, by its nature, passive conduct performed

automatically at the instigation of others, and does not render Moving Defendants liable for any

direct copyright infringement”) (collecting cases); Parker v. Google, Inc., 422 F. Supp. 2d 492,

497 (E.D. Pa. 2006), aff’d, 242 F. App’x 833 (3d Cir. 2007) (dismissing claim for direct copyright

infringement because “Google’s automatic archiving of USENET postings and excerpting of

websites in its results to users’ search queries do not include the necessary volitional element to

constitute direct copyright infringement”); Field v. Google Inc., 412 F. Supp. 2d 1106, 1115 (D.

Nev. 2006) (no direct infringement where “Google’s computers respond automatically to the user’s

request” such that “[w]ithout the user’s request, the copy would not be created and sent to the

user”); see also CoStar Grp., 373 F.3d at 551 (“There are thousands of owners, contractors,

servers, and users involved in the Internet whose role involves the storage and transmission of data

in the establishment and maintenance of an Internet facility. Yet their conduct is not truly

‘copying’ as understood by the Act; rather, they are conduits from or to would-be copiers and have

no interest in the copy itself.”).

        The few allegations in the Complaint that do reference non-automated conduct by X

employees, see, e.g., Compl. ¶¶ 115-116, pertain to operation of the site generally and have no

nexus to the specific acts of alleged infringement. For example, the allegation that “[t]hrough

regular acts and decisions by [X] employees, [X] designs, operates, maintains, and adjusts its




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algorithms to implement and advance [X]’s business model” (id. ¶ 116) is insufficient because it

does not describe conduct by X that was intentionally and knowingly directed at the alleged

infringement. Rather, it describes operation of the website generally, which lacks a “nexus

sufficiently close and causal to the illegal copying.” Canada Hockey, L.L.C., 2022 WL 445172,

at *10; see Stross, 2022 WL 1843142, at *3 (dismissing direct copyright infringement claim

against X because of “the lack of any nexus between [X]’s conduct and the alleged infringement,”

where no allegation “suggests that [X] actively (or even passively) copied, shared, or reposted

Plaintiff’s posts”) (emphasis in original).

       Finally, allegations that X delayed action or failed to take down specific infringing

material, see, e.g., Compl. ¶¶ 147-153, are insufficient to plead direct infringement because there

is no contention that X knowingly and deliberately caused the initial infringing act—i.e., the

posting of the allegedly infringing content to the website. Plaintiffs do not deny that X often

“remov[ed] or disabl[ed] access to” posts with allegedly infringing material, id. ¶ 149, but

complain that X either took too long act, or in some cases failed to remove the content, id. ¶¶ 149-

150, 152-153. But this is insufficient; courts have repeatedly held that the failure of a website to

respond to take down notices pursuant to the DMCA does not satisfy the volitional conduct

requirement for direct copyright infringement. See, e.g., Bus. Casual Holdings, LLC v. YouTube,

LLC, 2022 WL 837596, at *4 (S.D.N.Y. Mar. 21, 2022) (“irrespective of how long it took YouTube

to remove the Second RT Video, Business Causal has failed to claim plausibly that any purported

delay by YouTube constituted active, volitional conduct that caused TV-Novosti’s alleged

infringement”); Parker, 2017 WL 3508759, at *4 n.6 (rejecting allegation that “failure to

investigate the infringement after Plaintiff notified them of it constitutes volitional conduct”




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because it is insufficient to support that the defendants “caused in some meaningful way the

infringement”) (quotations and brackets omitted).

II.    THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE CONTRIBUTORY
       INFRINGEMENT

       The Supreme Court’s ruling in Grokster describes the circumstances under which a claim

of contributory infringement can lie against a defendant like X that sells a product or service

capable of substantial non-infringing use. Grokster held that the mere sale of a product or service

“capable of both lawful and unlawful use” does not constitute contributory infringement unless

there is additional evidence that the defendant acted “with the object of promoting its use to

infringe copyright, as shown by clear expression or other affirmative steps taken to foster

infringement.” 545 U.S. at 918-19. It is insufficient to premise a contributory liability claim on a

defendant’s “mere knowledge of infringing potential or of actual infringing uses.” Id. at 937.

Rather, to prevail on a claim for contributory infringement, a plaintiff must plead and prove that

the defendant distributed a device or service with the intent of fostering infringement:

       [O]ne who distributes a device [or service] with the object of promoting its use to infringe
       copyright, as shown by clear expression or other affirmative steps taken to foster
       infringement, is liable for the resulting acts of infringement by third parties. We are, of
       course, mindful of the need to keep from trenching on regular commerce or discouraging
       the development of technologies with lawful and unlawful potential. Accordingly, just as
       Sony did not find intentional inducement despite the knowledge of the VCR manufacturer
       that its device could be used to infringe, 464 U.S., at 439, n. 19, 104 S.Ct. 774, mere
       knowledge of infringing potential or of actual infringing uses would not be enough here
       to subject a distributor to liability. Nor would ordinary acts incident to product
       distribution, such as offering customers technical support or product updates, support
       liability in themselves. The inducement rule, instead, premises liability on purposeful,
       culpable expression and conduct, and thus does nothing to compromise legitimate
       commerce or discourage innovation having a lawful promise.

Id. at 936-37 (emphases added).

       In Grokster, the defendants’ “business models … confirm[ed] that their principal object

was use of their software to download copyrighted works.” Grokster, 545 U.S. at 926 (emphasis



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added). Each defendant “showed itself to be aiming to satisfy a known source of demand for

copyright infringement, the market comprising former Napster users,” and, indeed, brazenly

designed its entire product line and customer outreach around attracting these known infringers.

Id. at 939. In fashioning a rule for such circumstances, the Supreme Court made clear that “in the

absence of other evidence of intent, a court would be unable to find contributory infringement

liability merely based on a failure to take affirmative steps to prevent infringement, if the device

otherwise was capable of substantial noninfringing uses.” Id. at 939 n.12.

       In short, Grokster held that a defendant that offers a service with substantial non-infringing

uses can be held liable for contributory infringement only where there is evidence that it was the

defendant’s intended purpose—its objective—to cause infringement, as shown by clear

expression or affirmative acts. Grokster also cautions that liability may not be based on a failure

to prevent infringement. Id. at 939 n.12 (“[I]n the absence of other evidence of intent, a court

would be unable to find contributory infringement liability merely based on a failure to take

affirmative steps to prevent infringement … Such a holding would tread too close to the Sony safe

harbor.”). Rather, liability must be premised upon “purposeful, culpable expression and conduct”

aimed at inducing infringement. Id. at 936-37.

       District courts within the Sixth Circuit, including this Court, have appropriately applied

Grokster to claims of secondary copyright liability. See Eight Mile Style, LLC v. Spotify USA Inc.,

535 F. Supp. 3d 738, 746 (M.D. Tenn. 2021) (Trauger, J.) (“If a case falls squarely within Grokster,

then Grokster, of course, applies.”); Average Joe’s, 2018 WL 6582829, at *2 (“Plaintiff must

provide evidence that, if believed, would cause a jury to conclude Defendant intentionally induced

infringement by clear expression or other affirmative steps to foster infringement.”). Courts

outside the circuit have done so as well. See, e.g., Cobbler Nevada, LLC v. Gonzales, 901 F.3d




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1142, 1148 (9th Cir. 2018) (complaint failed to allege “purposeful, culpable expression and

conduct” aimed at infringement); King v. Amazon Corp., 2019 WL 6404882, at *4-5 (W.D.N.C.

Nov. 27, 2019) (barring contributory infringement claims where product is capable of a substantial

non-infringing use and intentional inducement is not shown); see generally Tierra Intelectual

Borinquen, Inc. v. ASUS Computer Int’l, Inc., 2014 WL 894805, at *6 (E.D. Tex. Mar. 4, 2014)

(noting that, in both patent and copyright cases, “if the [product] has ‘substantial noninfringing

use[s]’—then [defendant] is entitled to sell it as a staple article of commerce so long as it does not

take affirmative steps to induce infringement”).

         Here, the Complaint fails to allege that X intentionally induced the alleged infringement.

It contends that X (1) “encourages users to upload videos directly to the [X] platform”; (2) “is fully

aware of the infringing activity at issue in this litigation”; and (3) “knows that there is rampant,

unauthorized use of music, including Publishers’ musical compositions, across its platform.”

Compl. ¶¶ 131, 140, 144. These allegations do not describe “clear expression” or “affirmative

steps” by X to encourage copyright infringement.

         Moreover, the Complaint acknowledges X’s substantial efforts to curb user infringement

by (1) prohibiting the use of unauthorized copyrighted works on the platform, and (2) adopting

and employing an anti-infringement policy that terminates the accounts of customers accused by

rightsholders of infringement.2 See Rose Decl. Ex. A. Although the Complaint paints X’s anti-

infringement efforts as inadequate, see Compl. ¶¶ 140-169, it does not allege that these efforts

were meant to encourage infringement. Rather, Plaintiffs’ position is that X can do more than it


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   X’s TOS, referenced in Paragraph 123 of the Complaint, contains several provisions expressly
prohibiting users from using the platform to infringe. For example, Paragraph 3 of the TOS
prohibits the use of the service to violate copyright law, lists a designated agent to receive
copyright complaints, and points to an automated form to facilitate the submission of such
complaints. See Rose Decl. Ex. A at 2-3.


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already does to prevent copyright infringement. That is insufficient to state a contributory

infringement claim under Grokster.         See Average Joe’s, 2018 WL 6582829, at *6 (anti-

infringement policies and practices evidence that defendant did not foster infringement). Similarly,

the allegation that X “has not obtained licenses or other agreements necessary for Publishers’

musical compositions to be lawfully used on its platform,” Compl. ¶ 140, is just another way of

saying that X could do more to address the unauthorized use of music on the site by purchasing

licenses from Plaintiffs on behalf of X’s users. Whether X sought music licenses for users or

elected not to do so has no bearing on this inquiry; it is not evidence of an intent to encourage

infringement.

         Finally, there can be no reasonable dispute that X’s platform has substantial non-infringing

uses. The Complaint acknowledges that X’s “online social media platform” is used by “people …

to share and view messages and media.” Compl. ¶ 3. Plaintiffs themselves use the X platform for

these non-infringing purposes. See, e.g., Sony Music Publishing (https://X.com/SonyMusicPub);

Warner       Chappell       Music      (https://X.com/WarnerChappell);         and     Peer      Music

(https://X.com/peermusic).

III.     THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE VICARIOUS LIABILITY

         To state a claim for vicarious liability, Plaintiffs must allege that X: (1) has an obvious and

direct financial interest in the infringement; and (2) has the right and ability to supervise the

infringing conduct. Gordon v. Nextel Commc’ns & Mullen Advert., Inc., 345 F.3d 922, 925 (6th

Cir. 2003). “These elements are independent requirements, and each must be present to render a

defendant vicariously liable.” Id.

         Further, the Supreme Court has held that vicarious copyright liability should be narrowly

construed in the context presented here, urging district courts to be “circumspect in construing the

scope of rights created by a legislative enactment which never contemplated” the “competing


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interests that are inevitably implicated by [a] new technology.” See Sony Corp. of Am. v. Universal

City Studios, 464 U.S. 417, 431 (1984); see also id (citing several decisions reflecting the

“recurring theme” of “the judiciary's reluctance to expand the protections afforded by the copyright

without explicit legislative guidance”).

       A.      Plaintiffs Do Not Adequately Allege Direct Financial Interest

       As noted above, to adequately plead a claim for vicarious liability, Plaintiffs must allege

facts sufficient to show that X “has an obvious and direct financial interest in the infringement.”

Gordon, 345 F.3d at 925; see also Grokster, 545 U.S. at 930 n.9 (defendant must “profit[] directly

from the infringement”). To satisfy this prong of vicarious liability, courts have held that a

defendant must profit directly, rather than incidentally, from the alleged infringement. Erickson

Prods., Inc. v. Kast, 921 F.3d 822, 829 (9th Cir. 2019) (“A website owner can receive a direct

financial benefit from the presence of infringing material on his or her website, but only where the

availability of infringing material acts as a draw for customers”) (quotations omitted). “If the

infringing material is just an added benefit, rather than a draw, it does not confer a direct financial

benefit on the website owner.” Id. (quotations omitted); UMG Recordings, Inc. v. Bright House

Networks, LLC, 2020 WL 3957675, at *3-7 (M.D. Fla. July 8, 2020) (rejecting argument that direct

financial benefit is established when ability to infringe is only one of many possible reasons to use

the service); UMG Recordings, Inc. v. Grande Commc’ns Networks, LLC, 2018 WL 1096871, at

*9–10 (W.D. Tex. Feb. 28, 2018), report and recommendation adopted, 2018 WL 1905124 (W.D.

Tex. Mar. 28, 2018) (rejecting theory that any draw is sufficient to give rise to liability because

“that would impose liability on every ISP.”)

       Here, the Complaint fails to allege that X received a direct financial benefit from the alleged

infringement of Plaintiffs’ works. Nor could it. X is a service that offers a wide range of legitimate

uses to subscribers; for example, the Plaintiffs in this case maintain their own X accounts that they


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use for promotional purposes. Plaintiffs also do not plausibly allege that subscribers are drawn to

X to post or view the allegedly infringing content at issue in this case, as opposed to using the

platform for its many legitimate purposes.        Although the Complaint alleges generally that

Plaintiffs’ copyrighted compositions “attract and retain users” and “drive engagement,” Compl.

¶ 9, these boilerplate allegations lack detail and therefore are insufficient to support a claim. There

is no allegation that any user joined X or continued to use its service because of the particular

copyrighted works asserted in this case. See Klauber Bros., Inc. v. URBN US Retail LLC, 2023

WL 1818472, at *8 (S.D.N.Y. Feb. 8, 2023) (dismissing vicarious and contributory infringement

claims based on “conclusory allegations”). Plaintiffs’ allegations thus fail to describe an “obvious

and direct” financial benefit to X from the allegedly infringing posts.

       Similarly, the allegation that X earns money “via advertising, subscriptions, and data

licensing,” Compl. ¶ 126, is not enough to establish vicarious liability, as it simply describes X’s

business model generally, but does not claim that X benefited directly from infringement of the

copyrighted works asserted by Plaintiffs in this case. For example, a vague reference to X’s

purported “monetization of infringing content,” Compl. ¶ 127, does not demonstrate that the

allegedly infringing content itself is being monetized by X. Rather, this allegation only goes to

show that advertising may run adjacent to an allegedly infringing post (as it does for many non-

infringing posts). Plaintiffs do not assert that the advertisement was placed there by X because of

the allegedly infringing content.

       In this regard, Plaintiffs’ contentions are similar to those dismissed in Parker v. Google,

where allegations that “Google’s advertising revenue is directly related to the number of Google

users” and that the number of users “is dependent directly on Google’s facilitation of and

participation in the alleged infringement” were held to be “vague and conclusory” and did “not




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allege any actual relationship between infringing activity and the number of users and thus [did]

not allege obvious and direct financial interest sufficient to maintain this claim of vicarious

infringement.” 422 F. Supp. 2d at 500. Here, Plaintiffs’ allegations similarly do not plausibly

allege a direct causal nexus between the complained-of infringing conduct and X’s financial gain.

See Religious Tech. Ctr. v. Netcom On-Line Commc’n Servs., Inc., 907 F. Supp. 1361, 1377 (N.D.

Cal. 1995) (“Plaintiffs cannot provide any evidence of a direct financial benefit received by

Netcom from Erlich’s infringing postings”); Adobe Sys. Inc. v. Canus Prods., Inc., 173 F. Supp.

2d 1044, 1051 (C.D. Cal. 2001) (the draw must be “the infringing products” themselves); see also

Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004) (“there is no evidence that indicates that

AOL customers either subscribed because of the available infringing material or canceled

subscriptions because it was no longer available”).

       Plaintiffs’ claim that audiovisual posts in general “draw much higher rates of engagement

than posts that merely include text,” Compl. ¶ 6, is facially insufficient because audiovisual posts

are not inherently infringing. See Paypal, Inc., 2017 WL 3508759, at *5 (“Plaintiff does not allege

any facts that, if true, would support that customers are drawn to Moving Defendants’ cloud

storage business due to the availability of infringing work or the ability to store infringing work

on the servers.”). And allegations that X benefits from not licensing music from Plaintiffs for X

users to incorporate in their posts, Compl. ¶¶ 131-132, also miss the mark. The inference is that

customers are somehow drawn to X because it does not offer a library of musical compositions

that users can access is nonsensical. If anything, users would be drawn away from X and toward

other social media platforms that have this feature.

       The conclusory allegation that “[t]he more infringing content posted to an account, the

more followers that account obtains, and the more engagement there is on the [X] platform, all of




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which drives [X]’s advertising revenue” also falls short of establishing vicarious liability. Compl.

¶ 173-175. This allegation merely assumes a causal link between posting infringing content on

the one hand, and gaining followers, increasing engagement, and driving revenue for X on the

other. Bald speculation, however, cannot form the basis of a claim. Further, it is immaterial that

“across the NMPA notices, [X] accounts in fewer than three [NMPA] notices had roughly 17,000

followers on average, whereas accounts identified in three or more [NMPA] notices had more than

34,000 followers on average,” Compl. ¶ 174, because these statistics are driven by Plaintiffs’

notice-sending behavior, not the behavior of X or its users.

       B.      Plaintiffs Do Not Adequately Allege Supervision

       With respect to the second prong of vicarious liability, courts have held that the right and

ability to supervise infringing conduct “requires both a legal right to stop or limit the directly

infringing conduct, as well as the practical ability to do so.” Zillow Grp., 918 F.3d at 746

(quotations and citations omitted). The “pertinent inquiry is not whether [the defendant] has the

right and ability to control its system, but rather, whether it has the right and ability to control the

infringing activity.” Io Grp., Inc. v. Veoh Networks, Inc., 586 F. Supp. 2d 1132, 1151 (N.D. Cal.

2008) (emphasis in original). This element further “presupposes some antecedent ability to limit

or filter copyrighted material.” Tur v. YouTube, 2007 WL 1893635, at *3 (C.D. Cal. June 20,

2007) (emphasis added).        “[V]icarious liability arises only when a defendant pervasively

participates in the infringer’s relevant activities.” Navarro v. Procter & Gamble Co., 515 F. Supp.

3d 718, 754 (S.D. Ohio 2021) (quotations and brackets omitted) (emphasis added).

       Dismissal is required when a plaintiff has failed to adequately allege actual supervision

over the allegedly infringing activity. See, e.g., Luvdarts, LLC v. AT & T Mobility, LLC, 710 F.3d

1068, 1072 (9th Cir. 2013) (affirming dismissal of vicarious infringement claim because

“Luvdarts’s failure to allege that the Carriers have at least something like a capacity to supervise


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is fatal to a claim of vicarious liability”); Johnston v. Kroeger, 2021 WL 3571279, at *5 (W.D.

Tex. Aug. 11, 2021), report and recommendation adopted, 2021 WL 8442050 (W.D. Tex. Aug.

26, 2021) (“Without allegations that would support an inference that Live Nation had right or

ability to supervise the Nickelback Defendants’ allegedly infringing activity, Johnston has not

stated a claim for vicarious infringement.”); Lopez v. Bonanza.com, Inc., 2019 WL 5199431, at

*24 (S.D.N.Y. Sept. 30, 2019) (dismissing vicarious infringement claim because “Plaintiff has

presented no evidence that Bonanza had any ‘right and ability to supervise’ any alleged infringing

activity”); Montes v. Live Nation, 2018 WL 4964323, at *4 (C.D. Cal. May 9, 2018) (dismissing

vicarious infringement claim because plaintiff failed to allege right and ability to supervise

allegedly infringing activity).

       There is no allegation in the Complaint that X had the right or ability to supervise the

alleged infringing conduct. Like many online platforms that host user-generated content, X also

has no ability to monitor or even view user generated content until after it is posted to the site.

Further, given the tremendous volume of user posts to the site each day, X lacks the practical

ability to determine whether any particular posts violate third party copyrights. See Masck v.

Sports Illustrated, 2013 WL 2626853, at *7 (E.D. Mich. June 11, 2013) (finding Amazon “cannot

be expected to examine every product posted by a third-party and determine whether or not it is

infringing”).

       Nor does the Complaint plausibly allege that X has the ability to reliably detect the

unauthorized use of Plaintiffs’ copyrighted music in real time before that music is posted to the

site. See id. (“Plaintiff must put forth factual allegations that demonstrate Amazon could plausibly

verify the copyright status of each and every piece of merchandise it lists from third-party sellers.

Failure to do so requires dismissal of this claim.”). The allegation that X could “filter the content




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being posted to its servers with available technology to stop the ongoing infringement,” Compl.

¶¶ 170, 172, is not plausible—even when viewed in the light most favorable to Plaintiffs—because

no existing technology can reliably ascertain whether the use of music in a particular post is

unlawful, if it is licensed, or if it is a fair use. Viacom Int’l Inc. v. YouTube, Inc., 718 F. Supp. 2d

514, 522 (S.D.N.Y. 2010) (YouTube cannot be expected “to determine whether the [copyrighted

work] was still protected by copyright or was in the public domain; if the [copyrighted work] was

still protected by copyright, whether the use was licensed; and if the use was not licensed, whether

it was permitted under the fair use doctrine.”) (quoting House Committee on Commerce Report,

H.R.Rep. No. 105-551, pt. 2 at 57-58 (1998)), rev’d on other grounds 676 F.3d 19 (2d Cir. 2012).

Regardless, it is not sufficient to allege merely that a defendant “could ‘establish [] … a system’

that would give them the right and ability to supervise the infringing activity.” Luvdarts, LLC,

710 F.3d at 1071-72.

       Additionally, the fact that X has the contractual right to terminate a user’s account, see

Compl. ¶ 170, does not mean that it has the practical ability to control or supervise the content

users post before they post it. As many Courts have held, the ability to terminate a user’s account

is not the same as the ability to supervise the infringement. See Routt v. Amazon.com, Inc., 584 F.

App’x 713, 715-16 (9th Cir. 2014) (“[W]hile Amazon may have had the right and ability to

terminate the accounts of the infringing Associates, Routt has not adequately alleged that Amazon

exercises any direct control over those Associates’ activities. In the absence of such allegations,

Amazon cannot be held vicariously liable for its Associates’ conduct.”); Music Force, LLC v. Sony

Music Holdings Inc., 2020 WL 5733258, at *3 (C.D. Cal. Aug. 12, 2020) (“If plaintiff’s argument

is that Sony can stop Lil Nas X’s infringement by threatening to terminate their agreement, such

an argument is unpersuasive because the right to terminate services or a contract with an infringer




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does not amount to a right and ability to supervise the infringing conduct.”) (quotations omitted).

Relatedly, the ability to restrict public access to an allegedly infringing post after it is posted,

Compl. ¶¶ 170-172, does not equate to the ability to supervise the user’s act of infringement. The

“pertinent inquiry is not whether [the defendant] has the right and ability to control it[s] system,

but rather, whether it has the right and ability to control the infringing activity.” Io Grp., 586 F.

Supp. 2d at 1151 (emphasis in original). Nor is having “control over the content on its servers,”

Compl. ¶ 170, enough. See Lopez, 2019 WL 5199431, at *23 (allegation that “[defendant] ‘has

the direct control over the products sold from its website and has the ability to monitor and control

the infringing activity’” is insufficient because it “says nothing … of ‘the scope of [defendant’s]

control, if any, over the allegedly infringing activity”) (quotations omitted).

        As Plaintiffs have not alleged facts sufficient to support an inference of direct financial

benefit, or that X has the right and ability to supervise allegedly infringing posts, the vicarious

liability claim cannot be sustained.

                                          CONCLUSION

        For the foregoing reasons, X respectfully requests that the Court dismiss the Complaint in

its entirety.

 Dated: August 14, 2023                             Respectfully Submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on August 14, 2023

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all

parties and counsel of record by operation of the Court’s CM/ECF system.

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